        Case 2:11-cr-20005-PKH                      Document 86        Filed 12/21/11             Page 1 of 6 PageID #: 255
sAO 2458    (Rev.09/08)Judgmentin a Criminal Case
            Shcet I



                                           UF{rrenSrarnsDIsrntcTCoURT
                    WESTERN                                   Districtof                              ARKANSAS

        UMTED STATESOF AMERICA                                       JUDGMENTIN A CRIMINAL CASE
                          v.
                                                                     CaseNumber:                      2;t 1CR20005-001
           JAVIER NAVARRO-CABRAL
                                                                     USM Number:                      10355-0r0

                                                                     AndrewR. Miller
                                                                     Defcndant's Attomey
THE DEFENDANT:
X pleadedguilty to count(s)      Two (l) of the l4[qqqq4plt   lv[4y r7,201
                                                                         r
D pleadednolo contendere
                       to count(s)
  which wasacceptedby the court.
! wasfound guilty on count(s)
  aftera pleaof not guilty.

            is adjudicatedguilty of theseoffenses:
The def'endant

Title S $eetiqtr              Natureqf Slferose                                                       OthnseEnded         Count

2l U.S.C.g 841(aXl);and       Possession                 with Intentto Distribute;Aiding
                                        of Methamphetamine                                              r2t2tz0tl           2
l8 u.s.c.$ ?                  and Abetting



                              as providedin pages2 through
      The defendantis sentenced                                         of thisjudgment. The sentenceis imposedwithin the
statutoryrangeandtheU.S. SentencingGuidelineswereconsideredas advisory'

              hasbeenfbund not guilty on count(s)
! The def'endant

X Count(s)                    O n e( l )              X is    I   are dismissedon the motionof the United States.

         It is orderedthatrhedefendantmustnotify theUnitedStatesatrorneyfor thisdistrictwithin 30 d-aysof any_c-hangeof name,residence,
or mailingaddress                                                       imposedby thisjudgmentaretully palcl.lt orderedto payrestltutron'
                   until all fines,restitution,costs,hndspecialassessments
the defen*dant  mustnotify the coun andUnited Statesaltorneyof tnaterialchangesin economtcclrcumstances.

                                                                     December2l,20ll
                                                                     Date of Imposition of Judgment



                                                                     /S/ Roheft T. Dawson
                                                                     Signatureof Judge




                                                                     HonorableRobertT. Dawson.SeniorUnitedStatesDistrictJudqe
                                                                     Nameand Title of Judge



                                                                     D e c e m h e2r1 . 2 0 1 1
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AO 2458        (Rev.09/08)Judgmentin Criminal Case
               Sheet2 - Imprisonment

                                                                                                        Judgment-   Page -!-   of
DEFENDANT:                      JAVIER NAVARRO-CABRAL
CASENUMBER:                     2:11CR20005-001


                                                                 IMPRISONMENT

        The defendantis herebycommittedto the custodyof the United StatesBureauof Prisonsto be imprisonedfbr a
total term of:    46 months.




  X                                                   to the Bureauof Prisons:
          The court lnakesthe following recommendations

          Evaluation for RDAP or other SA treatment program.




  X       The defendantis remandedto the custodyof the UnitedStatesMarshal.

  tr      The defendantshall surrenderto the United StatesMarshal for this district:

          ! a t                                      !    a.m.     !   p.m.    on

          n      as notifiedby the United StatesMarshal.

                                                                                      by the Bureauof Prisons:
          The defendantshallsurrenderfor serviceof sentenceat the institutiondesignated

                 beforeI p.m. on

          !      as notified by the United StatesMarshal.

          tr     as notified by the Probationor Pretrial ServicesOffice.



                                                                       RETURN
I haveexecutedthisjudgmentasfollows:




          Defendantdeliveredon

                                                         , with a certifiedcopy of thisjudgment.



                                                                                                      UNITED SI'ATES MARSHAL



                                                                              By
                                                                                                   DEPUTY UNITED S'TATESMARSHAL
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AO 2458        (Rev 09/08)Judgmentin a Criminal Case
               Sheet3 - Superuised
                                 Release
                                                                                                                                                 Judgment-Page              3       ol' ____ q_
DEFENDANT:                           JAVTER NAVARRO-CABRAL
CASENUMBER:                          2:l 1CR20005-001
                                                      SUPERVISBD RBLEASB

                            the defendantshallbe on supervisedreleasefor a term of;
Upon releasefrom imprisonment,                                                                                                              three (3) years



       The defendant mustreportto the probationoffice in the districtto which the defendantis releasedwithin 72 hoursof releasefrom the
custodyof the Bureauof Prisoris.
The defendantshallnot commitanotherfederal,stateor localcrime.
The defendantshallnot unlawfullypossessa controlledsubstance.The defendantshallrefrainfrom any unlawfuluseofa controlled
substance   T.h e d e f e n d a n t s hsaul l- b m i t t o o n e d r u g t e s t w i t h i n l 5 d a y s o f r e l e a s e f r o m i m p r i s o n m e n t a n i l a t l e a s t t w o p e r i o d i c d r u g t e s t s
thereafter,as determinedby the coutt.
tr        The abovedrugtestingconditionis suspended,                                 that the defendantposesa low risk of
                                                      basedon the court'sdetermination
          future substanctabuse*.(Check.
                                      if appticaile.)

X                                     a firearm,ammunition,destructivedevice,or any otherdangerousweapon. (Checle
          The defendantshallnot possess                                                                        if applicahle.)

X         The defendantshallcooperatein the collectionof DNA as directedby the probationofficer. (heck,f applicable.)

          The defendantshallcomnlvwith the requirements    of the SexOffenderRegistrationandNotificationAct (42 U.S.C.$ 16901,qt seq.)
lJ        as directedby the probatioirofficer, theBureauof Prisons,or any statesex=offender registrationagencyin which he or sheresides,
          works,is a siudent,or was convictedof a qualifyingoffense. (check. rfapplicable.)

tr        The defendantshallparficipatein an approvedprogramfor domesticviolence. (Check,
                                                                                       iJ'appticable.)
                                                                                                                          with the
      If this iudgmentimposesa fine or restitution,it is a conditionof supervisedreleasethat the defendantpay in accordance
                   sheetbfthisjudgment.
Scheduleof Payme-nts
         Thedefendantmustcomplywith thestandardconditionsthathavebeenadoptedby thiscourtaswell aswith anyadditionalconditions
on the attachedpage.

                                                   STANDARD CONDITIONS OF SUPERVISION
     l)    the defendantshallnot leavethejudicial districtwithoutthe permissionofthe couft or probationofficer;
     2)    the defendantshallreportto the probationofficer in a mannerand frequencydirectedby the courtor probationofficer"
     3)    the defendantshallanswertruthfully all inquiriesby the probationofficer and follow the instructionsofthe probationofficer;
     4)                                                 and meetotherfamily responsibilities;
           the defendantshallsupporthis or her dependents
     5)    the defendantshall work regularlyat a lawful occupation,unlessexcu$edby the probationofficer for schooling,training,or other
           acceptablereasons;
     6)    the defendantshallnotify the probationofficer at leastten daysprior to any changein residenceor employment;
     7)    the defendantshallrefrainfrom excessiveuseofalcohol and shallnot purchase,possess,              or administerany
                                                                                             use,di,stribute,
           controlledsubstanceor any paraphernalia                                 eicept as prescribedby a physician;
                                                 relatedto any controlledsub-stances,
     8)    the defendantshallnot frequentplaceswherecontrolledsubstances    areillegally sold,used,distributed,or administered;
     e)                                  with_anypersonsengagedin^criminalactivity and shallnot associate
           the defendantshallnot associate                                                                  with any personconvictedof a
           felony,unlessgrantedpermissionto do so by the probationottlcer;
 t0)                   shallpermita probationofficer to visit him or herat any time at homeor elsewhereand shallpermitconfiscationof any
           the defendant
           contrabandobservedin plain view ofthe probationofficer;
 il)       the defendantshallnotifi the probationofficerwithin sevenry-two                                                   officer;
                                                                                                           by a law enforcement
                                                                          hoursof beingarrestedor questioned
 l2)       the defendantshall not enterinto any agreementto act as an informeror a specialagentofa law enforcementagencywithout the
           permissionof the couft; and

 t 3 ) asdirectedbv thenrobationofficer.the defendantshallnotifuthird partiesofrisks thatmay be occasionedby the defendant'scriminal
           ilr*d-;-.;#s;ir.al-hfitot orCtrirhcteristlcsanA snattpenirit the'probationofficer to dake such notificationsand to confirm the
           defendant+s  compliancewith suchnotificationrequirembnt.
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AO 2458     (Rev.06/05)Judgmentin a Criminal Case
            Sheet3C - SupervisedRelease
                                                                                               Iudgment-Page         of   --C-
DEFENDANT:                JAVIER NAVARRO-CABRAL
CASENUMBER:               2:11CR?0005-001

                                       SPBCIALCONDITIONSOF SUPBRVISION


I.        ln additionto the mandatorydrugtestingrequirements,                                                         by the U'S.
                                                             the dctbndantshallcomplywith any refcrraldeemedappropriate
                                                                        counselingbrtestingfor substance
                                       o1out-pitieritcvaluation,treatment,
          ProbationOfficerfor in-pat'ient                                                               abuse.

)         I'hedef'endantshallsubmithis person,residence,placeof cmployment, andvehicleto a scarchconductedby thc United.States
          ProbationOflce at a rcasonabletime andin a reidonablemarineibaseduponreasonablc  suspicionof evidenceof violationof'any
          conditionof supervisedrelease.Failureto submitto a searchmay be groundsfbr revocation.
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AO 2458     (Rev. 09/08) Judgmentin a Criminal Case
            Sheet5 - Criminal Monetary Penalties
                                                                                                             Judgment-   Page -l-      of   -f-
DEFENDANT:                         JAVIERNAVARRO-CABRAL
CASENUMBER:                        2:I 1CR20005-001
                                          CRIMINAL MONBTARY                                       PENALTIBS

      The def'endantmust pay the total criminal monetarypenaltiesunderthe scheduleof paymentson Sheet6.

                     Assessment                                                    Finc                            Restitution
TOTALS             $ 100.00                                                   $ 2,000.00                         $ -0-


 n                    of restitutionis deferreduntil
      The determination                                                           An ArnendedJudgmentin a Criminal Case(AO245C) will be entered
      aftersuchdetermination.

 !    The defendantmustmakerestitution(includingcomrnunityrestitution)to the following payeesin the amountlistedbelow.

      If theclefendanr   makesa partialpayment,eachpayeeshallreceivean approximage^ly        Peytll*nt,unlessspecifiedotherwisein
                                                                                  p1oporyi.olg4
      id.'ilir;ift;Ali-qipercinragg'payrnentcoluniriteiow. However,puiduanttol8U.S.C. g 3664G),'allnonfederalvictims mustbepaid
      bef'cirethgUnited Stites is paid.

Name af Isycc                                   Total Loss+                                 RestitulioaQrdercd                 Priority or lereedaga




TOTALS


 !     Restitutionamountorderedpursuantto pleaagreement $

 tr   The defenrlant mustpay intereston restitutionand a fine of morethan$2,500,unlessthe restitutionor fine is paid in full befbrethe
      fifteenthday aflerthe dateof thejudgmenr,pursuantto l8 U,S.C.$ 36I2(f). All of the paymentoptionson Sheet6 rnaybe subject
      to penaltiesfor delinquencyand default,pursuantto I8 U.S.C' $ 3612(g)'

X     The courtdeterminedthat the defendantdoesnot havethe ability to pay interestand it is orderedthat:

       X    the interestrequirementis waivedfor the               X        fine     tr    restitution.

       !    the interestrequirementfor the            !    fine       tr     restitutionis modifiedas follows:



                                                                                                                 committedon or after
+ Findingsfor thetotalamountof lossesarerequiredunderChapters1094, 110,I l0A, anclI l3,{ of Title I8 for ofl'enses
Septemb?r13, 1994,but beforeApril 23, 1996.
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A() 2458    (Rev.09/08)Judgmentin a Criminal Case
            Sheet6 - Scheduleof Payments
                                                                                                             - Page -0-
                                                                                                       Judgment                  of -d-
DEFENDANT:                  JAVIER NAVARRO-CABRAL
CASENUMBER:                 2: I ICR20005-001

                                                     SCHEDULEOF PAYMENTS
              the defendant'sability to pay, paymentof the total criminalmonetarypenaltiesaredue as tbllows:
 Havingassessed

 A    X     Lump sum paymentof $ _!!@qq_                    due immediately,balancedue

            X    not later than                                 ,Qf

            X    in accordance         nc,          l D ,   !     E, or     f, F below;or

      tr    Paymentto beginimmediately(may be combinedwith                ! C,     !   D, or    ! F below);or

 c    n     Paymentin equal                (e.g.,weekly,monthly,quarterly)installmentsof $                   over a periodof
                       (e.g,,monthsor years),to commence             (e.g.,30 or 60 days)afterthe dateof thisjudgment;or

 D    n     Paymentin equal                  (e.g.,weekly,monthly,quanerly)installmentsof $                  over a periodof
                         (e.g.,monthsor years),to commence            (e.g.,30 or 60 days)afterreleasefiom imprisonmentto a
            terrnot supervlslonlor

 E    !     Paymentcluringthe termof supervisetlreleasewill commencewithin              (e.g.,30 or 60 days)afterreleasefiont
                                                                              of the defendant'sability to pay at thattime; or
            imprisonment.The court will setthe paymentplanbasetlon an assessment

      X     Specialinstructionsregardingthe paymentof criminalInonetarypenalties;
            If not naiclimmediately,     any unpaiclfinancialFenaltyimposedshallbe paidduringthe periodof incarceration    at a rateof not lcss
            ittiii$IS,OOquurtiitv,'d.idV" oTthed-ef'endanfts      quirtcrly earnings,wliicheveris"greatbr.After,incarcerqtion,.anyunpaidlinancial
            il}iit]v stir|tS*iorn6hsbiiiat conaltionof supervised       releaseanilriraybe paidin-monthly.           of not lesi thah I0% of the
                                                                                                          installments
            ilEieriilanit"itf iti"riftivlb"i'ilioid iniorne,brit in no caselessthan${00.0'0pcr month,with the entirebalanceto be paidin full one
            monthprior to thetermlnationofsupervisedrelease.



Unlessthecourthasexpresslyorderedotherwise,if thisjudgnrentimposesimprisonment,          paymentofcriminalmon-etary    penaltiesis duedurins
imprisonment.All criminal monetarypenalties,                                     itriiiugfi tltJ FeaerCtBureou of Priidns' Inmate Financia'l
Responsibitityprogram,are macleto rhe^clerk"r,nT:io"t;t|uose-p;ililttll;'tfiicie

The defendantshallreceivecreditfor all paymentspreviouslymadetowardany criminal monetarypenaltiesimposed.




 !    Jointand Several

                                                                       number),Total Amount,Joint and SeveralAmount'
               alcl Co-DefendantNarnesand CaseNumbers(includingclefendant
      Def'endant
      andcorresponding payee,if appropriate.




 !                shallpay the costof prosecution.
      The det'endant

 tr               shallpay the fbllowing court cost(s):
      The def'endant

 tr   The defendantshatlforfeit the defendant'sinterestin the tbllowing propeftyto theUnited States:




Pavmenrsshallbe appliedin the following order:(l) assessment,                                                    (4) fine principal'
                                                                  (2) restitutionprincipal,(3) restitution.interest,
(5) fine interest,(6) cbmmunityrestitution,(7) penalties,and (8) costs,includingcostof prosecutlonand courtcosts'
